960 F.2d 146
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Theodore J. LEWIS, Plaintiff-Appellant,v.Levester THOMPSON, M.D.;  R. A. Young, RegionalAdministrator;  D. A. Garraghty, Warden,Defendants-Appellees.
    No. 91-7214.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  March 10, 1992Decided:  April 10, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., Senior District Judge.  (MISC-91-11-N)
      Theodore J. Lewis, appellant pro se.
      E.D.Va.$SY  AFFIRMED.
      Before HALL and HAMILTON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Theodore J. Lewis filed suit under 42 U.S.C. § 1983 (1988) and sought leave to proceed in forma pauperis.  The district court assessed a partial filing fee,  see Evans v. Croom, 650 F.2d 521 (4th Cir. 1981), cert. denied, 454 U.S. 1153 (1982), and dismissed the case without prejudice when Plaintiff failed to comply with the fee order.  Plaintiff appeals.  Finding no abuse of discretion, we affirm the district court's order.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    